Case 1:23-cv-00189-JMS-WRP                 Document 22          Filed 08/05/24         Page 1 of 15 PageID.95



                         IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF HAWAI`I

  In the Matter of                                    |        CIV. NO. 23-00189-JMS-WRP
                                                      |
  JOHN M. SCHUM,                                      |        RESPONDENT’S RESPONSE TO
                                                      |        ORDER TO SHOW CAUSE
              Respondent.                             |
                                                      |

          I am humbled having to appear before Your Honor under these

  circumstances. I am equally ashamed of myself for any harm I have brought to

  Magistrate Judge Reber’s stature as a jurist or an individual. As disappointed as I

  am with myself, this does not adequately express the remorse I have in knowing

  that valuable time from the Court’s schedule must be used to address this issue.

          The Order to Show Cause accurately identifies my errors in adhering to the

  requirements of the Protective Order that governed the handling of discovery items

  in the case. The Court does not request an explanation of how this occurred1 but

  the “Order to Show Cause” permits me to establish why the Court should not

  impose additional discipline. In order to comply with that request, I will limit my

  comments to mitigate, not excuse my actions, and demonstrate to the Court why I

  believe additional discipline is unnecessary.




  1
   The attachments to my Response provide the background associated with the violations. They are offered to fully
  explain my rationale for mitigating against further punishment in this matter.


                                                          1
Case 1:23-cv-00189-JMS-WRP       Document 22     Filed 08/05/24   Page 2 of 15 PageID.96



        Any violation of a Court Order is actionable, but my conduct was not

  intended to demean or challenge Magistrate Judge Reber’s authority in issuing the

  Protective Order. Although, my inadvertent and unintentional actions did not

  comply with the Protective Order, they did not cause any direct harm to the Parties

  in this case. I now realize that providing the individuals a copy of their grand jury

  transcript during the interview with the defense team, and then retrieving the

  transcripts at the conclusion of the interview would have complied with the

  Protective Order and not resulted in my inadvertent violation of the Order.

        When the Government Counsel advised there had been a violation of the

  Protective Order by the defense team, I immediately realized and acknowledged

  my inadvertent mishandling of the materials covered by the Protective Order and

  did not make excuses or attempts to minimize my actions. Although, I am a

  relatively seasoned criminal defense attorney, my practice up until recently has

  predominantly been in State court where protective orders generally govern

  defendants being provided copies of their discovery. This and the Miske cases are

  the only two federal cases where I recall signing a protective order.

        In this case, when I was initially hired to serve as a temporary counsel (until

  Mr. Mitsunaga could retain mainland counsel), Government Counsel requested I

  sign the Protective Order. This was done in July 2022, almost 2 full years before

  these errors occurred. It was uncertain whether I would remain on the case.



                                            2
Case 1:23-cv-00189-JMS-WRP       Document 22      Filed 08/05/24   Page 3 of 15 PageID.97



  However, when Ms. Nina Marino entered her appearance on October 18, 2022, she

  requested that I stay on the case as local counsel.

        During November and December 2023, I was working under Ms. Marino’s

  direction. Prior to the motion hearing on November 30, 2023, Ms. Marino planned

  to be in Honolulu for a limited time to appear for the hearing and interview

  potential witnesses. In preparation for her arrival and these witness interviews,

  Ms. Marino requested I schedule meeting with various witnesses including Carol

  Nakamura, who was represented by counsel. When I contacted Ms. Nakamura’s

  attorney to schedule an interview, he told me Ms. Nakamura was willing to meet

  with us. Additionally, he asked for the opportunity to review her grand jury

  transcripts before the meeting. I informed Ms. Marino about his request. Ms.

  Marino directed me to email the grand jury transcripts to Ms. Nakamura’s attorney

  and copy her on the email, so she had his contact information. I complied with her

  direction and emailed Ms. Nakamura’s grand jury transcript to her attorney and

  copied Ms. Marino and the other attorneys in her firm on the email.

        The following week, Ms. Marino and another attorney from her firm arrived

  in Honolulu. Again, Ms. Marino asked me to schedule interviews with as many

  witnesses as possible for her and her associate to interview while they were here.

  Some of the witnesses scheduled for interviews by Ms. Marino and her associate

  had testified before the grand jury. Ms. Marino intended to explore the nature of



                                            3
Case 1:23-cv-00189-JMS-WRP       Document 22     Filed 08/05/24   Page 4 of 15 PageID.98



  these witnesses’ grand jury testimony when she interviewed them. To increase

  productivity, expedite the interview process and avoid inordinate delays, Ms.

  Marino directed me to email some of these witnesses their grand jury transcripts in

  advance of the interviews, which I complied. I want to make it clear I am not

  advocating or arguing that by complying with Ms. Marino’s directions (which

  constitutes a violation of the Protective Order) excuses my behavior. I only state

  this to illustrate how Ms. Marino’s directions, combined with my limited exposure

  and familiarity with these types of Protective Orders, did not give me pause to

  contemplate what I was being asked to do would in any way violate the Protective

  Order I had signed regarding this case.

        In April 2024, during the trial, other violations of the Protective Order

  brought this issue to the Court’s attention. In an ex parte appearance before the

  Court, Ms. Marino indicated she would notify Government Counsel the extent of

  the possible violations. It was not until April 16, 2024, when I reviewed the draft

  letter Ms. Marino intended to provide to Government Counsel, I learned that

  neither her nor any members of her firm had been required to sign and be bound by

  the Protective Order. (See Attachment A – Kaplan Marino draft government

  letter). I disagreed with the tenor of the draft letter and indicated I would write my

  own version for Government Counsels’ consideration if she intended to submit the

  letter as written. Pointing out Government Counsels’ failure to have Ms. Marino



                                            4
Case 1:23-cv-00189-JMS-WRP       Document 22      Filed 08/05/24   Page 5 of 15 PageID.99



  sign the Protective Order was not needed to protect her, nor would it be in our

  client’s best interest. Ms. Marino revised the letter admitting that as a whole, the

  defense team failed to abide by the terms of the Protective Order which was

  harmless to both the defense and the government. (See Attachment B – Kaplan

  Marino government letter of April 16, 2024).

        When I was a military judge, one of my mentors offered me some sage

  advise concerning sentencing. He suggested that when deciding on an appropriate

  sentence, I carefully consider and weigh whether the misconduct was an error in

  judgment or a character flaw. The former is deserving of leniency while the latter

  may suggest a stronger need for retribution and deterrence depending on the

  severity of the crime. I humbly submit to Your Honor that the two instances of

  which you are aware do not constitute a pattern of misconduct or a flawed moral

  compass. They are each separate and distinct actions and occurred six years apart.

  I pray you recognize the current situation for what it was, an error in judgment,

  where I failed to recall the existence of the Protective Order (due to a lack of

  familiarity in these circumstances and the time lapse between when the document

  was signed and these event occurred) and consequently abide by its requirements.

        I am cognizant of the precarious situation I am confronting, while

  advocating for leniency. I humbly pray based on the circumstances I have describe

  above, as well as my candor before the Court, while fully acknowledging my



                                            5
Case 1:23-cv-00189-JMS-WRP      Document 22     Filed 08/05/24   Page 6 of 15 PageID.100



  responsibility for this inadvertent violation, that this Honorable Court determines

  my actions do not necessitate any reason to impose additional punishment or

  continue my probationary status. I know and fully appreciate the consequences of

  any further infractions.

                                         Respectfully submitted,

                                          /s/ John Schum
                                         John Schum




                                            6
Case 1:23-cv-00189-JMS-WRP   Document 22   Filed 08/05/24   Page 7 of 15 PageID.101




             ATTACHMENT

                                    A
    Case 1:23-cv-00189-JMS-WRP              Document 22      Filed 08/05/24      Page 8 of 15 PageID.102




                                                 kaplanmarino.com

                                                  April 16, 2024
        Via Email

        Michael G. Wheat
        Joseph J.M. Orabona
        Janaki G. Chopra
        Colin M. McDonald
        Andrew Y. Chiang
        Assistant United States Attorneys
        michael.wheat@usdoj.gov
        Joseph.orabona@usdoj.gov
        Janaki.Chopra@usdoj.gov
        Colin.McDonald@usdoj.gov
        Andrew.Chiang@usdoj.gov


                         Re: United States v. Dennis Mitsunaga, Case No. 22-cr-048

        Government Counsel:
        This letter is written to address inadvertent violations of the Protective Order made by the
        attorneys for Mr. Mitsunaga. This letter does not address any violations of the Protective Order
        by Mr. Mitsunaga, nor does it address allegations of witness tampering.1
        Following the hearing on April 15, 2024, in connection with Government Emergency Motion for
        Enforcement of Protective Order, I undertook a search of email to determine if there were any
        other inadvertent breaches of the Protective Order.
        That search disclosed that on November 27, 2023, two emails were sent by John Schum with
        copy to me as well as other members of Kaplan Marino to Mr. Ishibashi as counsel for Carol
        Nakamura that contained grand jury materials responsive to his request to John Schum for same.
        My email copy reflects the transmission of materials included FBI 302 dated May 20, 2022
        (KM-GJ-RPTS-000112); Ms. Nakamura’s calendars (KM-GJ-RPTS-000071.01-71.48). The
        previous email copy reflects that Ms. Nakamura’s grand jury transcripts (KM-GJT-003883-3949,
        003954-4035, 003513-3588, 004369-4426, 003656-3688) were sent as well, although the copy



        1
         I note that pursuant to the existing Protective Order Mr. Mitsunaga is permitted to possess
        grand jury material but not permitted to disseminate.



1546 N. Fairfax Avenue                                                                    T 310.557.0007
Los Angeles, CA 90046                                                                     F 310.861.1776
Case 1:23-cv-00189-JMS-WRP            Document 22        Filed 08/05/24     Page 9 of 15 PageID.103
  Letter to Government Counsel
  April 16, 2024
  Page 2



   of the email received by members of Kaplan Marino does not reflect the attachments.
   Mr. Mitsos also performed a search of his email, revealing a March 1, 2024 email to Andrew
   Chong with copy to myself, providing discovery materials (KM-VP-OSAKI-000706.041, 043,
   045, 141, 144, 146, and 148). Identical documents were independently provided to us, these
   materials were discussed on the record in MAU v. MAI, and portions of these materials were
   admitted in the same action. To the extent these documents are public record, we do not believe
   this was a violation of the Protective Order. We nevertheless make this disclosure in an
   abundance of caution and transparency. To the extent this disclosure violated the Protective
   Order, it was inadvertent.
   I also inquired of Mr. Schum. Mr. Schum stated that in or around December 5 or 6, 2023, he
   provided Mr. Ball and Mr. Santana their own grand jury transcripts (Chris Ball: KM-GJT-
   000118-133, 002317-2330, 000318-358, 002419-2451, 003075-3123; Kenneth Santana: KM-
   GJT-000028-73, 000196-264, 000359-401) by emailing same to Lynn Taguchi and asking her to
   deliver those transcripts to Mr. Ball and Mr. Santana in connection with upcoming scheduled
   witness interviews. Mr. Schum email reflects that Ms. Nakamura’s grand jury transcripts (KM-
   GJT-003883-3949, 003954-4035, 003513-3588, 004369-4426, 003656-3688) were sent to Mr.
   Ishibashi on November 27, 2023.
   Other than what I have stated in this letter, and what I understand the government to already
   know regarding the Hyun grand jury transcripts and the Alivado grand jury transcript, I have no
   reason to believe that any other grand jury materials were inadvertently disseminated.
   During the first week of December, Mr. Mitsos and I traveled to Honolulu to conduct witness
   interviews in connection with this case. John Schum participated in those interviews. Included in
   those interviews were Mr. Ball, Mr. Santana, and Mr. Chong. While I acknowledge that these
   witnesses were not permitted to have physical possession of their own grand jury transcripts
   pursuant to the terms of the protective order (Mr. Chong did not have any grand jury testimony),
   the Protective Order does permit their review in the presence of counsel in preparation of the
   case. Our mistake was in the application of the process. In other words, the grand jury transcripts
   were inadvertently provided to these witnesses inappropriately, but not used in an inappropriate
   manner.
   I note that I was never asked nor was anyone from my firm ever asked by the government to sign
   the Protective Order in this case, and that neither I nor anyone from Kaplan Marino did in fact
   sign the Protective Order in this case. Mr. Schum signed the Protective Order on July 5, 2022. I
   did not enter an appearance in this case until October 18, 2022. I also note that the government
   identified more than 80 witnesses in this case and many of those witnesses were related to or
   employees of MAI requiring that we interview them. Mr. Mitsos and I live and work on the
   mainland and had limited time in which to conduct interviews. Our unintentional failure to
   follow the letter of the protective order was a mistake. For that, I apologize.
  Case 1:23-cv-00189-JMS-WRP             Document 22        Filed 08/05/24     Page 10 of 15
Letter to Government Counsel             PageID.104
April 16, 2024
Page 3



Any violations of the protective order were inadvertent and procedural in nature. Meaning that
the grand jury testimony and other materials were provided for the purpose of witness interviews
only. At no time did Mr. Mitsos, Mr. Schum or I harbor any intent to commit wrongdoing. We
collectively misinterpreted the process of interviewing witnesses utilizing their own witness
testimony as directed by the protective order. I am unaware of any harm to the proceedings or
prejudice to the government caused by our mistake.
To remediate our mistake, I have contacted counsel for Ms. Nakamura, counsel for Mr. Ball,
counsel for Mr. Chong, Ms. Taguchi and Mr. Santana for the purpose of clawing back any
inadvertently provided grand jury material. Mr. Ishibashi has replied that he has grand jury
transcripts on his computer. I advised him to transfer those materials to a flash drive and remove
them from his computer. I further advised that once completed he should let me know and I will
arrange for the pickup of the flash drive. Mr. Ball has provided me with a flash drive of the
material that he received, and I will provide that to you tomorrow. In preparing the flash drive
Mr. Ball advised that he removed the materials from his computer. Mr. Santana has responded
that he never received any material. I am awaiting responses from Mr. Chong and Ms. Taguchi. I
have not contacted counsel for Mr. and Mrs. Hyun because I assume the government has already
clawed back those materials. Please advise if I am mistaken.
Mr. Mitsos, Mr. Schum, and I now fully understand the strict requirements of the Protective
Order and remain amenable to a modified order.
                                             Sincerely,
                                             KAPLAN MARINO, P.C.

                                                     /s/
                                             NINA MARINO


Cc:
Ryan Mitsos
John Schum
Birney Bervar
Doris Lum
Andrew Kennedy
Thomas Otake
Mark Mermelstein
Andrew Cowan
Crystal Glendon
mitsos@kaplanmarino.com
john@johnschum.com
bbb@bervar-jones.com
  Case 1:23-cv-00189-JMS-WRP   Document 22   Filed 08/05/24   Page 11 of 15
Letter to Government Counsel   PageID.105
April 16, 2024
Page 4

doris@dorislumlaw.com
andrew@kona-lawyer.com
thomas@otakelaw.com
mmermelstein@holmesathey.com
acowan@holmesathey.com
crystal@glendonponce.com
Case 1:23-cv-00189-JMS-WRP   Document 22   Filed 08/05/24   Page 12 of 15
                             PageID.106




        ATTACHMENT

                                B
            Case 1:23-cv-00189-JMS-WRP            Document 22       Filed 08/05/24     Page 13 of 15
                                                  PageID.107



                                                 kaplanmarino.com

                                                  April 16, 2024
        Via Email

        Michael G. Wheat
        Joseph J.M. Orabona
        Janaki G. Chopra
        Colin M. McDonald
        Andrew Y. Chiang
        Assistant United States Attorneys
        michael.wheat@usdoj.gov
        Joseph.orabona@usdoj.gov
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Los Angeles, CA 90046                                                                     F 310.861.1776
  Case 1:23-cv-00189-JMS-WRP              Document 22       Filed 08/05/24      Page 14 of 15
Letter to Government Counsel              PageID.108
April 16, 2024
Page 2



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Chong with copy to myself, providing discovery materials (KM-VP-OSAKI-000706.041, 043,
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  Case 1:23-cv-00189-JMS-WRP            Document 22        Filed 08/05/24     Page 15 of 15
Letter to Government Counsel            PageID.109
April 16, 2024
Page 3



To remediate our mistake, I have contacted counsel for Ms. Nakamura, counsel for Mr. Ball,
counsel for Mr. Chong, Ms. Taguchi and Mr. Santana for the purpose of clawing back any
inadvertently provided grand jury material. Mr. Ishibashi has replied that he has grand jury
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I advised him to transfer the materials he has to a flash drive and remove them from his
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                                            KAPLAN MARINO, P.C.

                                                   /s/
                                            NINA MARINO


Cc:
Ryan Mitsos
John Schum
Richard Kaplan
Jennifer Lieser
Samantha Turner
mitsos@kaplanmarino.com
john@johnschum.com
kaplan@kaplanmarino.com
Lieser@kaplanmarino.com
turner@kaplanmarino.com
